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   Yand

   From:
   Sent:
   To:
                                 Stewart, John M. (WFBC MIL)
                                 Wednesday, December 15,~,.
                                 Stoeberl, Mark J. (WFB /M~); Y
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   Subject:                      Eastern              \L""''';>~-t,...,f;                              .LJ   tt...:"...;tk~~                                                             -.
                                                            1.1'''''')                 ""   ~~--             Jr.
   Eastern Team:                                                                      s-:




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   I just wanted to make sure we wera, ",7n

   I had 4 specific to-dos:

         Push the idea of a forensic accoun
                                                   e sa     page 0 ~at



                                               nt with 5/3 and DSI.
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                                                                                  we said we would be working on coming out of th~


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                                                                                                                                         PJ- ~                        ~
                                                                                                                                                                             Bill, Frank and Co, this last Monday,



                                                                                                                                                                                         ~      A 6 ••..., t{ •.,k
      •   Convey the results of the bankruptcy court hearing that took place Monday afternoon.                     ~ -HttI         ;r        ..L          ",.-l               """'~s
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--'-"'Get    the budget, determine strate gy on fundin 9 mechanism and our i nyolyeroeot in 't, ~                    :>. I    3'       NoII.'$            oft.   '4'$ ""'"
   •     Begin discussions with key individuals.    ~-C_li-t.e.,                   (~~E_.""                   ..•.•_ •.:,)              ~l         ~~~r                            •.•


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   Let me know if I missed anything, We should make sure we walk away from each weekly call with a clear list of to-dos.

                                      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~P~uema~surefu~weareful~~

   Thanks,

   John M. Stewart
   Executive Vice President
   Regional Manager
   Wells Fargo Capital Finance
   100 East Wisconsin Avenue
   Suite 1400
   Milwaukee, WI 53202
   414-224-7422
   414-224-7439 (fax)
   john.m.stewart@welisfargo.com




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        Yand                           WFBC MIL
        From:                             Yandry, Ronald (WFBC MIL)                              _""")
        Sent:                             Tuesday, April 12, 2011 3:12 PM                                                                        _~
        To:
        Subject:                          Stoeberl, Mark J. (WFBC MIL); Whitfield, Eric D.; Stewart, John M. (WFBC MIL); Fitz~rian                    F. (WFBC Mpls); O'Connor, Frank
                             ./           Today's ELS update call with DSI and Trustee                    _            /..                                                      _
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        Here is a summary ~f t~a~lrfi.-ith"Mrus~

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               beginning to scale back their role.   ~:z;
               Collections now total $9MM. Another $1.1 MM is expected by next week. Therefore, collections will exceed the high end recovery estimate of $9. 7MM. DSI
                                                                 I ~           prE        ~.        'Vt:.s                                                       •

    •          DSI will put together a schedule of the remaining receivables this week into three categoriE;s: (1) close to paying; (2) account balance in limbo or broader
               settlement needed; and (3) customers that should be sued.                              ~           oo<::.~ to Ij~
                                                                                                           --Jt.
    •     Jrhe current net cash balance as of 4/1/11 is $8.3MM . ./                                        ~       J...I.,~"'"

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              Trustee is not Involved In the day-to-day worx of'l the inte leaders. Trustee did request after our last call a memo from Baker & Dame
                                                                                                                                                                .
                                                                                                                                                   Is that outlines where in
                                                                                                                                                                                .          .
              the process each interpleader is, the timeline an p an or when it does get to the US bankruptcy court. This was not received so the Trustee will follow-up on
              the memo and circulate to the bank group once completed. Trustee did note that the largest Texas interpleader has arrived in the US bankruptcy court.

    •         There was a delay in listing the US Beef stock. I~h~';s-rn:ile;pe~~              take place today for the sale of ELS's ownership interest in US Beef. Expect $700K
              or the high end of their estimate in about 60 aays.
                                                    ~?
    •         Cattleman'ii made an offer for ELS's 47% interest in Cattleman's. The offer was for $750M with a couple conditions attached.                Trustee will use an evaluation
              firm to determine if the $750M offer is reasonable. Additionally, more investigation is needed on the two conditions.

    •         Texas Ribs Note Receivable ($400K to $800K estimated recovery) - Texas Ribs will be supplying a detailed accounting this week. -                      N..~        ~
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•             Did not receive the response letter from the FBI as to the FBI's ideas on the seized dollars of $4.7MM.            Instead received a form from the FBI to assert a claim.
              A short call with the FBI is scheduled for this afternoon.

•             A claim will be filed against the Gibson bankruRtr..M'~:t::rnI=fTi1rTf1i
              late April.'/        D~ ~                                                   M seized from Your Community Bank Gibson personal account by the filing deadline of


•          The lawsuit against Downs ($1.2MM) for misappropriated funds has been filed. Active discussions continue with Seals ($1.4MM) council on his
           misappropriated funds case. A meeting is set up with Seals and the Trustee next week in Indianapolis.

•          The lawsuit against Atki~$1.5MM               to $17MM - first AiR lawsuit) has been fi~                      ~

•          Preferences - Trustee in the very early stages of reviewing the possibilities.

•         RSI Report - Trustee thoughts are there may be a case of 5th / 3rd against the CPA firm. Trustee supplying the report to 5th / 3rd and will discuss this
          approach with 5th / 3rd and WF counsel either later this week or next week.

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 Stoebgr .. Mark J. (WFBC MIL)
 From:                             Yandry, Ronald (WFBC MIL)
 Sent:                             Thursday, September 15, 2011 3:50 PM
 To:                               Whitfield, Eric D.; Stoeberl, Mark J. (WFBC MIL); Stewart, John M. (WFBC MIL); Fitzpatrick,
                                   Brian F. (WFBC Mpls); O'Connor, Frank
 Subject:                          ELS update


 ELSupdate call with trustee from 9/8/11:


        •    No significant collections since the last update call. Overall cash balance remains at approx $10MM.
        •    At the August hearing, the judge did order $5.2MM of cash to be transferred from the escrow account to the
             operating account but kept open the issue of the ultimate ownership of funds. In order to distribute funds, the
             trustee will have to give notice and wait through a waiting period. Objections would be filed during the waiting
             period. Therefore, the trustee feels the most efficient way is to wait to provide notice of a bank distribution
             until the law of the case is settled. Trustee and counsel still feel the judge will rule in favor of the estate (also
             favorable to the bank group) that will result in a bank distribution. Timing of the distribution could get pushed
             into next year.
     •       Still waiting on a proposal of distribution priority from the FBI concerning the FBI seized funds. Trustee
             considering proposing own plan to the FBI.
    •        US Prime Beef stock sale. Have sold $250K out of expected $750K in stock proceeds. Trustee dropping the price
             $25/share on the B units which would still result in about $425K in additional proceeds when sold.
    •        Cattleman's (ELS47% interest). Trustee had previously counter-offered the original $750K Cattleman's offer
             with a $4.5MM offer if no deferred income is taken. The counter offer is based on a provision in the operating
             agreement that a member (ultimately ELS)would receive value in the capital account (currently $5.5MM) in the
             event of termination (i.e. death of a member). Cattleman's attorney stated they are reviewing the facts of the
             offer and are likely to make a counteroffer.
    •        Interpleaders ($8MM) - Texas (largest of interpleaders) had a Sept 1 deadline for amendments - summary
            judgment motion possible early in 2012. Other states - amendment deadline closes in 30 to 60 days.
    •       No significant update on the Superior case.
    •       Still discussing the idea of a global settlement.   Trustee meeting setup with National Cattleman's Beef
            Association in late September.
    •        Next update hearing is September     zs".
    e       Next internal call is set up for October 5th at 10:30 CST.
    •       Overall, no change to estimated gross recoveries of $21MM on the low end and $63MM on the high end though
            the timing of an initial distribution could get pushed into early next year.


Please let me know if you have any questions or we can discuss further on the call we have set up for Monday Sept is".

Thanks,

 Ronald H. Yandry
Vice President
Relationship Team Leader
Wells Fargo Capital Finance
100 East Wisconsin Avenue, Suite 1400
Milwaukee, WI 53202
Phone: 414-224-7454
Fax: 414-224-7442
ronald.yandry@wellsfarao.com




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